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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al., Case No. 08-13141 (KJC)
Debtors. (Jointly Administered)

Hearing Date: November 29, 2010 at 10:00 a.m. (ET)
Objections Due: November 22, 2010 at 4:00 p.m. (ET)

NOTICE OF MOTION

TO: The United States Trustee; the Debtors; counsel to the Debtors; all entities that have filed
a request for service of pleadings in these cases.

On November 11, 2010, the Official Committee of Unsecured Creditors (the
“Committee”) filed the Motion of the Official Committee of Unsecured Creditors for Entry
of an Order Granting Leave, Standing and Authority to Commence, Prosecute, Settle and
Recover Certain Causes of Action on Behalf of the Debtors’ Estates Arising Under and
Pursuant to 11 U.S.C. §§ 547 and 550 (the “Preference Standing Motion”).

Objections, if any, to the relief requested in the Preference Standing Motion must be filed
with the United States Bankruptcy Court, 824 North Market Street, 3 Floor, Wilmington,
Delaware 19801, on or before NOVEMBER 22, 2010, at 4:00 p.m. (ET).

At the same time, you must also serve a copy of the objection upon the undersigned
counsel so as to be received no later than 4:00 p.m. (ET) on NOVEMBER 22, 2010.

A HEARING ON THE PREFERENCE STANDING MOTION WILL BE HELD ON
NOVEMBER 29, 2010 AT 10:00 a.m. (ET) BEFORE THE HONORABLE KEVIN J.
CAREY, CHIEF UNITED STATES BANKRUPTCY COURT JUDGE, IN THE UNITED
STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 NORTH
MARKET STREET, 5" FLOOR, COURTROOM 5, WILMINGTON, DELAWARE 19801.

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IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED IN THE PREFERENCE STANDING MOTION
WITHOUT FURTHER NOTICE OR HEARING.

Dated: November 11, 2010 LANDIS RATH & COBB LLP

Wilmington, Delaware ae
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